      Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 1 of 21



 1   Brian C. Lake (#020543)
     Kendra L. Haar (#030959)
 2
     PERKINS COIE LLP
 3   2901 North Central Avenue, Suite 2000
     Phoenix, Arizona 85012-2788
 4   Telephone: 602.351.8000
 5   Facsimile: 602.648.7000
     BLake@perkinscoie.com
 6   KHaar@perkinscoie.com
     docketphx@perkinscoie.com
 7

 8
     Attorneys for Defendants
                           UNITED STATES DISTRICT COURT
 9
                                    DISTRICT OF ARIZONA
10

11
     MICHAEL J. BROSNAHAN,                     No. 3:16-cv-08277- DLR
12

13                     Plaintiff,
                                               MOTION TO DISMISS
14        v.
                                               (Honorable Douglas L. Rayes)
15
     CALIBER HOME LOANS, INC., LSF9
16
     MASTER PARTICIPATION TRUST, and
17   SUMMIT SERVICE AND REALTY LLC

18                     Defendants.
19

20

21

22

23

24

25

26

27

28
         Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 2 of 21



 1           Plaintiff Michael J. Brosnahan’s First Amended Complaint (“FAC”) violates the
 2   Rules of Civil Procedure and should be dismissed outright. [Doc. 13] Defendants Caliber
 3   Home Loans, Inc., LSF9 Master Participation Trust, and Summit Service and Realty LLC
 4   (collectively “Caliber”) 1 move to dismiss Plaintiff’s FAC for failure to meet the pleading
 5   requirements of Federal Rule of Civil Procedure 8(a)(2) (“Rule 8(a)(2)”) and failure to
 6   state a claim under Federal Rule of Civil Procedure 12(b)(6) (“Rule 12(b)(6)”).
 7                               MEMORANDUM IN SUPPORT
 8           This case arises out of a pending non-judicial foreclosure and trustee’s sale of
 9   Plaintiff’s residential property for which the loan was issued in 2006. Plaintiff does not
10   deny that he is in default of his loan obligations. 2 In fact, Plaintiff stopped making
11   payments on the loan more than eight years ago on January 1, 2009, and has not made
12   any payments since. [See Doc. 13 at 17] Nevertheless, Plaintiff now seeks to enjoin the
13   trustee’s sale of the property and also collect damages under a nebulous theory that the
14   issuer and later noteholder of the loan and deed of trust somehow violated a variety of
15   state and federal laws in originating, servicing, and foreclosing on the loan. Plaintiff’s 27-
16   page long FAC, while unclear, suggests he seeks both damages and an order clearing title.
17   But Plaintiff fails to state any tenable claim for relief against Caliber—let alone any basis
18   for awarding him free and clear title. In fact, this is the second spurious lawsuit Plaintiff
19   has filed over the last several years in an attempt to delay and complicate foreclosure of
20   this same property, for which he long ago stopped making loan payments. Plaintiff’s first
21   lawsuit was dismissed with prejudice by a federal judge as being without merit. This
22   action should be dismissed with prejudice as well.
23

24

25

26   1
       The FAC makes no efforts to separate the Defendant entities or their conduct.
27   2
         See generally Doc. 13, (FAC) (containing no allegations that the debt has been
     satisfied). Because Plaintiff’s FAC does not have numbered paragraphs, any citations to
28   the FAC in this Motion are to the page number.

                                                  -1-                       No. 3:16-cv-08277-DLR
          Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 3 of 21



 1                                Brief Statement of Relevant Facts 3
 2   I.       LOAN HISTORY
 3            In 2006, Plaintiff borrowed $373,500.00 from Countrywide Home Loans, Inc.,

 4   which was secured by a Deed of Trust (“DOT”) 4 against the property at 21 Hummingbird

 5   Circle, Sedona, AZ 86336 (“the Property”). 5 [See Doc. 13 at 2] In the DOT, which

 6   served as the loan’s Security Instrument, the following parties are defined: Countrywide

 7   as the Lender, the Mortgage Electronic Registration System, Inc. (“MERS”) as the

 8   beneficiary, and Plaintiff as the Borrower. On May 25, 2006, Plaintiff, as the “Borrower,”

 9   executed a Promissory Note (the “Note”) and the DOT and Security Instrument. 6 Plaintiff

10   stopped making payments on the Loan on January 1, 2009. [See id. at 17]

11            As contemplated by paragraph 20 of the DOT, the Note was sold one or more times

12   over the course of the loan, and the Loan Servicer changed as well:

13         • On July 27, 2011, MERS granted, assigned, and transferred its beneficial interest
             under the DOT to Bank of America, N.A., successor by merger to BAC Home
14           Loans Servicing, LP, FKA Countrywide Home Loans Servicing, LP. 7
15         • On May 19, 2014, Bank of America, N.A., successor by merger to BAC Home
             Loans Servicing, LP, FKA Countrywide Home Loans Servicing, LP granted,
16
             assigned, and transferred its beneficial interest under the DOT to Christiana Trust. 8
17

18
     3
19      The facts set forth in this Brief Statement are undisputed, accepted as true for the
     purposes of this Motion, and are based on the Complaint allegations or other documents,
20   of which the Court may take judicial notice.
     4
        As discussed more fully in Caliber’s Request for Judicial Notice, filed concurrently, a
21   district court may consider documents referred to or “whose contents are alleged in the
     complaint” but are not attached to the plaintiff’s pleading. See, e.g., Lapidus v. Hecht,
22   232 F.3d 679, 682 (9th Cir. 2000). The Court may also take judicial notice of “matters of
     public record” without converting a motion to dismiss into a motion for summary
23   judgment. MGIC Indem. Corp. v. Weisman, 803 F.2d 500, 504 (9th Cir. 1986).
     5
24      The Property is further described in the DOT as parcel ID Number 401-51-046 at Lot
     33, of Chapel Bells Estates Unit 4, according to case 2 of maps, page 324. The DOT was
25   filed in the Official Records of Coconino County on May 31, 2006 as Document No.
     3386186, and is attached as Ex. 1 to the Defendants’ Request for Judicial Notice, filed
26   concurrently with this Motion (“Request for Judicial Notice”).
     6
        Ex. 1 (DOT at 1 & 11) and Ex. 2 (Note) to the Request for Judicial Notice.
27   7
        Ex. 3 to the Request for Judicial Notice.
28   8
        Ex. 4 to the Request for Judicial Notice.

                                                    -2-                       No. 3:16-cv-08277-DLR
          Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 4 of 21



 1         • On July 2, 2014, Bank of America, N.A., successor by merger to BAC Home
 2
             Loans Servicing, LP, FKA Countrywide Home Loans Servicing, LP corrected its
             grant, assignment, and transference of its beneficial interest under the DOT to
 3           Christiana Trust. 9
 4         • On March 27, 2015, Christiana Trust granted, assigned, and transferred its
             beneficial interest under the DOT to Wilmington Trust, N.A., not in its individual
 5           capacity but as trustee of ARLP Securitization Trust, Series 2014-2. 10
 6            As also contemplated by the DOT (at ¶ 24), the Trustee was substituted from time
 7   to time and successor trustees were appointed:
 8         • The original Trustee was Fidelity National Title Insurance Co. 11
 9         • On May 1, 2009, the original beneficiary, MERS, appointed Recontrust Company,
             N.A. as Successor Trustee under the DOT. 12
10
           • On May 21, 2015, Western Progressive - Arizona, Inc. was substituted as Trustee
11           by Wilmington Trust, N.A., not in its individual capacity but as Trustee of ARLP
12           Securitization Trust, Series 2014-2, by its Servicer Ocwen Loan servicing, LLC. 13
           • On August 24, 2016, the present beneficiary, LSF9 Master Participation Trust, by
13
             Caliber Home Loans, Inc., solely in its capacity as servicer, substituted the trustee
14           and appointed Summit Services and Realty, LLC, as Trustee under the DOT. 14

15   II.      PRIOR LITIGATION HISTORY – ROUND ONE
16            Plaintiff stopped making payments on the Loan on January 1, 2009. [See Doc. 13

17   at 17]     Trustee Recontrust Company filed the first Notice of Trustee’s Sale on the

18   Property in 2009. 15 Plaintiff fought this this non-judicial foreclosure in court by filing an

19   action in Superior Court in Coconino County, which the defendants removed to federal

20   court. 16 Defendants filed a motion to dismiss for failure to state a claim. 17 Plaintiff

21

22   9
        Ex. 5 to the Request for Judicial Notice.
     10
23       Ex. 6 to the Request for Judicial Notice.
     11
         Ex. 1 (DOT at 1) to the Request for Judicial Notice.
24   12
         Ex. 8 to the Request for Judicial Notice.
25   13
         Ex. 9 to the Request for Judicial Notice.
     14
26       Ex. 10 to the Request for Judicial Notice.
     15
         Ex. 11 to the Request for Judicial Notice.
27   16
         Exs. 15 and 16 to the Request for Judicial Notice.
28   17
         Ex. 17 to the Request for Judicial Notice.

                                                   -3-                       No. 3:16-cv-08277-DLR
          Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 5 of 21



 1   responded to the motion to dismiss, and also filed a separate motion for sanctions and a
 2   motion for default judgment. 18 On June 30, 2010, Judge Martone issued an order granting
 3   the motion to dismiss and denying Plaintiff’s motions. 19 The court noted that “Plaintiff’s
 4   47-page pro se complaint is a rambling narrative of various allegations against defendants
 5   and challenges to the enforceability of his deed of trust.” The court concluded that “[t]o
 6   survive a motion to dismiss, ‘a complaint must contain sufficient factual matter, accepted
 7   as true, to ‘state a claim to relief that is plausible on its face’’” and “Plaintiff’s complaint
 8   does not satisfy this test.” 20
 9              Plaintiff refused to accept that result, and filed a 36-page Motion to Vacate
10   Judgment, essentially rehashing the same arguments. 21 Plaintiff also filed a separate
11   Motion to Compel Defendants’ Attorneys to Submit an Affidavit and a Motion for Stay of
12   Non-judicial Proceedings. 22 On August 27, 2010, Judge Martone issued another order
13   denying Plaintiff’s motion to vacate and other motions. 23 The court noted that Plaintiff
14   had failed to show why the dismissal order should be vacated, and “[i]nstead he largely
15   repeats arguments made in his response to the motion to dismiss, and levels charges about
16   defendants’ ‘criminal’ and ‘terrorist’ conduct.” 24
17              Still refusing to accept the result, Plaintiff filed a 21-page “Motion to Recuse,” in
18   which he again rehashed the same arguments and asserted (without any factual support)
19   that Judge Martone was unfairly biased. 25 On September 23, 2010, the court issued an
20   order denying Plaintiff’s Motion to Recuse, finally ending the case. 26
21

22   18
          Id.
     19
23        Ex. 18 to the Request for Judicial Notice.
     20
          Id. at 1-2 (quoting Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009)).
24   21
          Ex. 19 to the Request for Judicial Notice.
25   22
          Exs. 20 and 21 to the Request for Judicial Notice.
     23
26        Ex. 22 to the Request for Judicial Notice.
     24
          Id. at 1-2.
27   25
          Ex. 23 to the Request for Judicial Notice.
28   26
          Ex. 24 to the Request for Judicial Notice.

                                                       -4-                        No. 3:16-cv-08277-DLR
          Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 6 of 21



 1            Although Plaintiff’s legal action was dismissed, it does not appear that a trustee’s
 2   sale of the property was conducted at that time. Neither the FAC nor the documents in the
 3   public record explain why the trustee’s sale did not occur in late 2010 or soon thereafter. 27
 4   III.     ANOTHER NOTE TRANSFER AND CURRENT LITIGATION HISTORY –
              ROUND TWO
 5

 6            In March 2016, LSF9 Master Participation Trust acquired an interest in the Loan.
 7   [Doc. 13 at 5] On March 25, 2016, LSF9 Master participation Trust sent Plaintiff a
 8   Notice of Ownership of Mortgage Loan.           [Id.]   Then, on August 24, 2016, Caliber
 9   recorded a Notice of Trustee’s Sale in the Coconino County Recorder’s Office, which was
10   scheduled for November 22, 2016 and subsequently cancelled. Caliber recorded another
11   Notice of Trustee’s Sale, scheduled for February 27, 2017.       [Id. at 2-3]
12            Plaintiff apparently now claims that the Loan was unilaterally rescinded by him in
13   2009, but Plaintiff still possesses the collateral for the Loan. [Doc. 13 at 8] 28
14

15   27
         Interestingly, about three months before he filed his legal action seeking to stop the
16   trustee’s sale of his property located at 21 Hummingbird Circle, Sedona AZ (the property
     at issue in this case), Plaintiff had already filed an action in federal court to prevent a
17   trustee sale of another property in default he owned located right across the street at 22
     Hummingbird Circle, Sedona, AZ. See Michael Brosnahan v. JPMorgan Chase Bank, et
18   al., No. 3:09-cv-08224-JAT (D. Ariz. Teilborg, J.) (PACER online case docket is attached
     as Ex. 25 to the Request for Judicial Notice). The court in that action granted Defendants’
19   motion to dismiss for failure to state a claim (while also denying Plaintiff’s additional
     motion to quash, motion for preliminary injunction and motion for TRO). Id. Plaintiff
20   filed an amended complaint, after which the court granted another motion to dismiss the
     amended complaint, with prejudice (while also denying Plaintiff’s additional motion to
21   compel defendants’ attorneys to submit an affidavit, motion to stay all non-judicial
     proceedings, motion to strike, motion to sequester the note, and “motion to compel court
22   and defendants to adhere to Erie doctrine”). Id. Plaintiff then filed a motion to vacate all
     court rulings and a motion for recusal, both of which were denied by the court. Id.
23   Plaintiff then filed an appeal with the Ninth Circuit, which was also dismissed. Id.
     Although this action related to a separate property across the street, it demonstrates that
24   Plaintiff is no stranger to the court system (or to these issues) and that he has a continuing
     strategy of filing baseless legal claims and frivolous motions in an attempt to complicate
25   and delay creditors that are merely exercising their legitimate rights on default. In
     addition, the Coconino County Superior Court’s online docket indicates that in January
26   2016 Plaintiff filed yet another action against a noteholder and loan servicer, although
     details are not available (including the location of the property involved). See Michael
27   Brosnahan v. Ocwen Fin. Corp. & Ocwen Loan Servicing LLC, No. S-0300-CV-
     201600045 (Ariz. Sup. Ct., Coconino Cnty).
28   28
         See also Exs. 12-14 to the Request for Judicial Notice.

                                                   -5-                         No. 3:16-cv-08277-DLR
       Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 7 of 21



 1          On November 22, 2016, Plaintiff commenced this action. The Complaint alleged a
 2   single claim under the Fair Debt Collection Practices Act related to the initiation of a non-
 3   judicial foreclosure of the Property. [Doc. 1] Plaintiff also filed an ex parte Application
 4   for an Emergency Temporary Restraining Order (“TRO”) to Stay the Sale of Real
 5   Property. [Doc. 1 at 1; Doc. 7 at 1] The Court denied Plaintiff’s TRO Application and
 6   ordered Plaintiff to serve the Defendants with the Complaint. [Doc. 7 at 5] Among other
 7   things, the Court’s order outlined the insufficiencies of Plaintiff’s Complaint in asserting a
 8   claim arising under the FDCPA. [Id. at 4-5] The Court found:
 9          to the extent Brosnahan’s complaint is based on actions taken by [Caliber]
            to facilitate the non-judicial foreclosure of the Property, these actions do
10          not qualify as debt collection within the meaning of the FDCPA.
            Moreover, although the FDCPA provides for civil damages, Brosnahan
11          cites no authority that alleged violations of the FDCPA give rise to a
            defense against non-judicial foreclosure. Id. at 5.
12
            Plaintiff served the complaint and summons on Caliber. [Doc. 12] And the parties
13
     met and conferred to discuss the case. [Doc. 13 at 5] The parties stipulated to permit the
14
     Plaintiff to amend his complaint. [Doc. 10; Doc. 11] Plaintiff filed the FAC, which now
15
     alleges three purported causes of action: (1) violation of the Real Estate Settlement
16
     Procedures Act (“RESPA”); (2) violation of the Truth in Lending Act (“TILA”); and (3)
17
     violation of the Fair Debt Collection Practices Act (“FDCPA”). [Doc. 13 at 22-25]
18                                            Argument
19          To survive a motion to dismiss, a complaint must include “a short and plain
20   statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P.
21   8(a)(2). A complaint must also contain sufficient factual matter, accepted as true, to ‘state
22   a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
23   (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). To survive dismissal for
24   failure to state a claim pursuant to Rule 12(b)(6), a complaint must contain more than
25   “labels and conclusions” or a formulaic recitation of the elements of a cause of action”; it
26   must contain factual allegations sufficient to “raise a right to relief above the speculative
27   level.” Twombly, 550 U.S. at 555. The Rules demand “more than an unadorned, the-
28   defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678.

                                                  -6-                       No. 3:16-cv-08277-DLR
          Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 8 of 21



 1            While a court must generally accept as true all allegations contained in a complaint,
 2   that tenet does not apply to mere conclusory statements. Id. at 678-79. And even pro se
 3   litigants like the Plaintiff “must comply with Federal Rules of Civil Procedure and meet
 4   certain minimal standards of pleading.” See Ticktin v. C.I.A., No. CV-08-998-PHX-
 5   MHM, 2009 WL 976517, at *4 (D. Ariz. Apr. 9, 2009) (quotation omitted).
 6            Plaintiff offers no well-pleaded facts and no simple, direct, and concise allegations.
 7   The FAC falls far short of the Rules’ pleading requirements, and must be dismissed.
 8   I.       THE FAC VIOLATES FEDERAL RULES OF CIVIL PROCEDURE 8(A),
              8(D), AND 10(B), AS WELL AS THIS COURT’S DECEMBER 1 ORDER.
 9

10            Rule 8 requires “sufficient allegations to put defendants fairly on notice of the
11   claims against them.” Brabant v. JP Morgan Chase Bank, CV 11-00848-TUC-JGZ, 2012
12   WL 2572281, at *3 (D. Ariz. July 2, 2012) (quoting McKeever v. Block, 932 F.2d 795,
13   798 (9th Cir. 1991)). A complaint that consists of conclusory allegations against a group
14   of defendants without specific allegations of individual wrongdoing does not put
15   defendants fairly on notice of the claims against them. Id. (dismissing complaint where
16   claims against all defendants were devoid of any attempt to associate factual allegations
17   with specific defendants or claims.). In addition, “[e]ach allegation must be simple,
18   concise and direct.” Fed. R. Civ. P. 8(a). A party must “state its claims . . . in numbered
19   paragraphs, each limited as far as practicable to a single set of circumstances.” Id. 10(b).
20            While, in general, courts liberally construe the pleadings of a pro se litigant, “pro
21   se litigants are [still] bound by the rules of procedure.” Ghazali v. Moran, 46 F.3d 52, 54
22   (9th Cir. 1995); see also Sepehry-Fard v. Dept. Stores Nat’l Bank, 15 F. Supp. 3d 984,
23   987 (N.D. Cal. 2014) (“pro se pleadings must still allege facts sufficient to allow a
24   reviewing court to determine whether a claim has been stated.”).
25            Here, the FAC as a whole fails to make “simple, concise and direct” allegations in
26   separately numbered paragraphs. Caliber should not have to wade through the FAC to try
27   to glean what claims for relief Plaintiff has attempted to assert and what alleged facts
28   support those attempted claims. The fact that Plaintiff is pro se does not give him license

                                                   -7-                        No. 3:16-cv-08277-DLR
       Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 9 of 21



 1   to ignore the Rules of Civil Procedure or to pursue a lawsuit without alleging facts to
 2   support his legal claims, relying instead on conclusory assertions and a scattershot list of
 3   statutes. For this independent reason, the Court should dismiss the FAC with prejudice.
 4   II.    PLAINTIFF HAS FAILED TO STATE ANY CLAIMS FOR RELIEF.
 5          Rule 8 requires “sufficient allegations to put defendants fairly on notice of the
 6   claims against them.” While Plaintiff alleges three total claims against all Defendants, all
 7   of Plaintiff’s claims are meritless, and none are supported by well-pleaded facts. The
 8   FAC fails to inform Caliber of the claims against it any more than did the Complaint. As
 9   a result, Plaintiff fails to state any claim upon which relief can be granted, and the Court
10   should dismiss all of Plaintiff’s claims with prejudice. See, e.g., Robinson v. BAC Home
11   Loans Servicing, LP, CV11-1920-PHX-JAT, 2012 WL 1520125, at *4 (D. Ariz. May 1,
12   2012) (dismissing complaint with prejudice that contained “numerous mortgage
13   foreclosure arguments that have been rejected time and time again for failure to state a
14   claim” because amendment would be futile and no additional facts could save the claims).
15          A.     Plaintiff Fails to State a Claim under the Real Estate Settlement
                   Procedures Act. (COUNT I)
16

17          First, Plaintiff claims that Defendants are liable for violating the Real Estate
18   Settlement Procedures Act (RESPA), pursuant to 12 U.S.C. § 2605. RESPA provides that
19   “[i]f a servicer of a federally related mortgage loan receives a qualified written request
20   from the borrower (or an agent of the borrower) for information relating to the servicing
21   of such loan, the servicer shall provide a written response” and “provide the borrower
22   with a written explanation or clarification that includes . . . information requested by the
23   borrower [and] the name and telephone number of an individual employed by, or the
24   officer or department of, the servicer who can provide assistance to the borrower.” Id. §
25   2605(e). A qualified written request must include the borrower’s information and a
26   statement of the reasons the account is believed to be in error. Id. A qualified written
27   request “is one that relates to the servicing of the loan.” Brabant, 2012 WL 2572281, at
28   *9 (citing Consumer Sols. REO v. Hillery, 685 F. Supp. 2d 1002, 1014 (N.D. Cal. 2009)).

                                                 -8-                       No. 3:16-cv-08277-DLR
      Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 10 of 21



 1          Plaintiff incomprehensibly asserts that his “written requests for information about
 2   his account and correction of Defendants’ failed to correct numerous errors ‘qualified
 3   written requests’ within the meaning of RESPA.” [Doc. 13 at 22] Plaintiff continues:
 4   “Defendants’ failed to respond in a proper and timely way to Plaintiff’s ‘qualified written
 5   requests’ for information about, and corrections to, his mortgage account, in violation of
 6   12 U.S.C. § 2605(e).” [Id.] Plaintiff did not attach his written requests to the FAC, or the
 7   supposedly insufficient responses. Plaintiff does seemingly quote from communications
 8   to Caliber discussing the loan. [Id. at 7-8] This communication is not a qualified written
 9   request because it poses no questions about the servicing of the loan, but rather challenges
10   Caliber’s right to service the loan and the validity of the underlying documents. This is
11   not a basis for a claim under RESPA, and the FAC fails to allege facts that would support
12   a claim for relief under RESPA. See Brabant, 2012 WL 2572281, at *9.
13          Additionally, to recover under RESPA, a plaintiff must allege facts demonstrating
14   that he suffered actual damages as a result of a defendant’s alleged failure to respond.
15   This is also grounds for dismissal of Plaintiff’s RESPA claim. See Amaral v. Wachovia
16   Mortgage Corp., 692 F. Supp. 2d 1226, 1232 (E.D. Cal. 2010) (“Absent factual
17   allegations suggesting that Plaintiffs suffered actual damages, Plaintiffs’ RESPA claim is
18   insufficiently pled and subject to dismissal.”). The FAC contains no factual allegations
19   relating to actual damages, and this insufficiently pled claim should be dismissed.
20          B.     Plaintiff Fails to State a Claim under the Truth In Lending Act.
                   (COUNT II)
21

22          Plaintiff claims that Defendants are liable for violating the Truth In Lending Act
23   (“TILA”), pursuant to 15 U.S.C. § 1641. [Doc. 13 at 22-23] There are no factual
24   allegations in the FAC, which if proven true, could establish any Defendants’ liability
25   under TILA. Plaintiff’s TILA claim provides a series of three conclusory assertions that
26   Caliber violated TILA without providing factual support—and citing statues unrelated to
27   TILA. [Id.] Plaintiff fails to state any facts in this count, let alone facts that would entitle
28   him to any sort of relief.

                                                   -9-                        No. 3:16-cv-08277-DLR
      Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 11 of 21



 1          TILA requires lenders to make certain specific disclosures of information in certain
 2   approved formats before the loan is consummated. See U.S.C. § 1601, et seq. Caliber
 3   was not involved in originating Plaintiff’s 2006 loan—it had no involvement until 2016.
 4   Thus, to survive a motion to dismiss, Plaintiff would have to allege specific facts showing
 5   how his original lender failed to make the adequate disclosures required by the statute
 6   before the loan was made, and establishing some basis by which Caliber could be held
 7   liable for such a failure. As for civil damages claims against a subsequent assignee of a
 8   loan secured by real property, TILA expressly provides that such a claim “may be
 9   maintained against any assignee of such [original] creditor only if—(A) the violation for
10   which such action or proceeding is brought is apparent on the face of the disclosure
11   statement provided in connection with such transaction pursuant to this subchapter . . . .”
12   15 U.S.C. § 1641(e)(1). Plaintiff has not pleaded any facts establishing that any alleged
13   TILA violation was “apparent on the face of the disclosure statement” that was provided
14   to Plaintiff when the loan was initially made in May 2006.
15          Further, even if Caliber had been involved in originating Plaintiffs’ loans, the time
16   in which to bring such an action has run. The statute of limitations for a civil damages
17   claim under TILA is only one year. Id. § 1640(e). Since the loan was made in 2006, this
18   limitations period has long since run. The right to rescind a transaction under TILA
19   expires three years after the date of consummation of the transaction. Id. § 1635(f). “This
20   three-year period is not a statute of limitations within which to file an action, but is rather
21   the duration of the right to rescind.” McCann v. Quality Loan Serv. Corp., 729 F. Supp.
22   2d 1238, 1242 (W.D. Wash. 2010). Although Plaintiff alleges that he asserted his right to
23   rescind sometime in 2009, he provides no letter proving the date he supposedly exercised
24   his right to rescind. What is more, he consummated the loan in May 2006. This suit was
25   not filed until November 2016—over a decade later. Plaintiff also still possesses the
26   collateral that is the Property at issue here. Any claim for rescission under TILA is
27   therefore time-barred, and any claim for civil damages under TILA is baseless.
28

                                                  -10-                       No. 3:16-cv-08277-DLR
      Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 12 of 21



 1          C.     Plaintiff Fails to State a Claim under the Fair Debt Collections
                   Practices Act. (COUNT III).
 2
            For Plaintiff’s third and final formal claim for relief, Plaintiff asserts that Caliber
 3
     violated the Fair Debt Collections Practices Act (FDCPA), under 15 U.S.C. § 1672. But
 4
     Plaintiff fails to state a claim under FDCPA because Caliber is not a “debt collector” as
 5   defined under the FDCPA. The purpose of the FDCPA is to regulate (and thus eliminate)
 6   abusive practices by debt collectors. 15 U.S.C. § 1692(e); Herrejon v. Ocwen Loan
 7   Servicing, LLC, 980 F. Supp. 2d 1186, 1201-02 (E.D. Cal. 2013). As such, the FDCPA
 8   applies only to debt collectors and not to Caliber, a mortgage servicer. Plaintiff does not
 9   and cannot allege that Caliber’s principal business is FDCPA debt collection. See id.
10          “Debt collectors” may face civil damages under the FDCPA for “engaging in
11   certain abusive practices while attempting to collect debts.” Ho v. ReconTrust Co., NA,
12   840 F.3d 618 (9th Cir. 2016) (citing 15 U.S.C. § 1692d-f, 1692k) (emphasis added).
13   Under this statue, a “debt collector” is defined as:
14          Any person who uses any instrumentality of interstate commerce or
            the mails in any business the principal purposes of which is the
15          collection of any debts, or who regularly collects or attempts to
            collect, directly or indirectly, debts owed or due or asserted to be
16          owed or due to another.

17   15 U.S.C. § 1692a(6). As the Court has previously explained, “mortgagees and their
18   beneficiaries, including mortgage servicing companies, are not debt collectors subject to
19   the FDCPA.” Mansour v. Cal-Western Reconveyance Corp., 618 F. Supp. 2d 1178, 1182
20   (D. Ariz. 2009) (citing Perry v. Stewart Title Co., 756 F.2d 1197, 1208 (5th Cir. 1985);
21   see also De Dios v. Int’l Realty & Inves., 641 F.3d 1071, 1075 n.3 (9th Cir. 22011) (“debt
22   collector does not include those ‘mortgage service companies and others who service
23   outstanding debts or others, so long as the debts were not in default when taken for
24   servicing.’” (quoting S. Rep. No. 95-382 (1977)). Further, “actions taken to facilitate a
25   non-judicial foreclosure, such as sending the notice of default and notice of sale, are not
26   attempts to collect ‘debt’ as the term is defined by the FDCPA.” Ho, 840 F.3d 618.
27   Plaintiff simply ignores the Court’s prior ruling in this same case that “actions taken by
28

                                                  -11-                      No. 3:16-cv-08277-DLR
      Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 13 of 21



 1   Defendants to facilitate the non-judicial foreclosure of the Property . . . do not qualify as
 2   debt collection within the meaning of the FDCPA” and that the FDCPA does not provide
 3   any defenses against non-judicial foreclosure. [Doc. 7 at 5]
 4          In addition, Plaintiff makes a host of allegations against Caliber regarding the
 5   ownership of the loan. For example, Plaintiff asserts eighteen bullet points of statute
 6   sections that were purportedly “violated” but does not provide any well-pleaded facts
 7   specifying the conduct by Caliber that supposedly violated each of these statutory
 8   provisions. [Doc. 13 at 23-25]
 9          Plaintiff’s allegations continue to be conclusory and do not state a plausible claim
10   to relief under the FDCPA.       Plaintiff still does not specify the nature of Caliber’s
11   supposedly abusive debt collection practices. Although Plaintiff claims that he received
12   “debt collector” communications from Caliber, he does not attach those communications
13   to the FAC, nor does he allege their contents with any detail, an omission clearly pointed
14   out by the court in its November 23, 2016 order. [Doc. 7 at 5] The FAC did nothing to
15   correct that fatal flaw.
16          Plaintiff’s FAC is based on Caliber’s actions taken to facilitate the non-judicial
17   foreclosure of the Property, which, as the Court already held, do not fall into the FDCPA’s
18   meaning of “debt collection.” [Id.] Further, although the FDCPA provides a possible
19   basis for civil damages, the statute provides no defense against a non-judicial foreclosure.
20          Numerous courts have concluded that “the activity of foreclosing on [a] property
21   pursuant to a deed of trust is not collection of a debt within the meaning of the FDCPA.”
22   Diesner v. Mortgage Electronic Registration Sys., 618 F. Supp. 2d 1184, 1188-89 (D.
23   Ariz. 2009) (citing Hulse v. Ocwen Fed. Bank, FSB, 195 F. Supp. 2d 1188, 1203-04 (D.
24   Or. 2002) (the activity of foreclosing on a property is not the collection of a debt within
25   the meaning of the FDCPA); Castro v. Exec. Trustee Servs., LLC, No. CV-08-2156-PHX-
26   LOA, 2009 WL 438683, at *6 (D. Ariz. Feb. 23, 2009) (same).
27          Plaintiff points to letters sent by Caliber that provide a notice that “This is an
28   attempt to collect a debt.” [Doc. 13 at 3] This does not constitute an admission to being a

                                                 -12-                       No. 3:16-cv-08277-DLR
      Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 14 of 21



 1   “debt collector” as contemplated by the FDCPA, and a label on a letter does not change
 2   the substance of the underlying transaction or whether that transaction falls within the
 3   scope of the statute. The FDCPA fails to provide grounds upon which relief may be
 4   granted, and as a result this claim must also be dismissed.
 5          D.     Plaintiff Fails to State a Claim for Relief in any of the FAC’s various
                   other allegations that are not identified as enumerated causes of action.
 6
                   1.     Caliber need not prove standing to conduct a non-judicial
 7                        foreclosure.
 8          Plaintiff challenges Caliber “standing” to non-judicially foreclose. [Doc. 13 at 20]
 9   “Standing” is a prudential and constitutional doctrine requiring that the parties to litigation
10   have an actual interest in the outcome. Non-judicial foreclosures are, by definition,
11   conducted without court involvement pursuant to the power of sale contractually
12   conferred by the trustor; the concept of “standing” has no relevance in the context of a
13   trustee’s sale. “Standing” is not a concept governing a non-judicial foreclosure.
14          Rather, non-judicial foreclosures are governed exclusively by A.R.S. §§ 33-801–
15   821, which provide the “only procedure” for a valid trustee’s sale. Patton v. First Fed.
16   Sav. & Loan Ass’n of Phoenix, 118 Ariz. 473, 476, 578 P.2d 152, 155 (1978); accord
17   Chavez v. ReconTrust Co., 2008 WL 5210893, *3–4 (E.D. Cal. Dec. 11, 2008) (slip
18   copy) (noting that statutory framework governing non-judicial foreclosures is exhaustive
19   and should not be supplemented with additional requirements). These statutes do not have
20   a “standing” requirement. Rather, they provide,
21          [b]y virtue of his position, a power of sale is conferred upon the trustee of a
            trust deed under which the trust property may be sold, [as] provided in this
22          chapter, after a breach or default in performance of the contract or
            contracts, for which the trust property is conveyed as security, or a breach
23          or default of the trust deed. . . . The power of sale may be exercised by the
            trustee without express provision therefore in the trust deed.
24
     A.R.S. § 33-807(A). This provision makes clear—the existence of a DOT securing an
25
     obligation confers inherent authority 29 on the trustee to sell the trust property upon
26
     default. Whether the trustee would also have “standing” to prosecute a legal action
27
     29
        In other words, the trustee need not obtain the prior approval of the borrower or the
28   court, a requirement Plaintiff seeks, in effect, to impose here.

                                                  -13-                       No. 3:16-cv-08277-DLR
      Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 15 of 21



 1   against the trustor for default of his loan obligations has no bearing on the trustee’s
 2   inherent authority to sell the trust property conferred by contract and statute. Thus, the
 3   trustee need not prove “standing” or anything else before conducting a sale. Rather, it is
 4   the trustor’s burden to prove that a pending sale is improper if he wishes to have the sale
 5   enjoined. Plaintiff cannot do that by invoking a requirement that does not bind the
 6   trustee. 30
 7                 2.     The statute of limitations does not affect a trustee’s sale.

 8           Plaintiff alludes in the FAC to Caliber being barred from enforcing the DOT by a
 9   statute of limitations. [Doc. 13 at 17] This argument does not support Plaintiff’s claims
10   for relief under RESPA, TILA, or the FDCPA because these statutes are affirmative
11   claims for money damages under each relevant statute—not a defense against a non-
12   judicial foreclosure. A statute of limitations has no bearing on the claims in the FAC.
13           Further, Plaintiff’s statute of limitations argument does not bar enforcement of the
14   DOT to recover the collateral Property through a trustee’s sale. An action on a note is a
15   legally distinct and separate from a non-judicial foreclosure action. Universal Inv. Co. v.
16   Sahara Motor Inn, Inc., 127 Ariz. 213, 215, 619 P.2d 485, 487 (Ct. App. 1980) (deed of
17   trust statute does not mandate foreclosure by trustee’s sale, but allows option to foreclose
18   as mortgage or bring action on debt). In Arizona, an action for quiet title “cannot be
19   sustained as against a mortgage debt confessedly unpaid.” Manicom v. CitiMortgage,
20   Inc., 236 Ariz. 153, 161, 336 P.3d 1274, 1282 (2014) (quoting Provident Mut. Building-
21   Loan Ass’n v. Schwertner, 15 Ariz. 517, 140 P. 495 (1914) (an unsatisfied mortgage,
22

23

24   30
        The courts have expressly held that an action on the note and a non-judicial foreclosure
     are separate remedies available to the owner of a defaulted loan. See, e.g., Universal Inv.
25   Co. v. Sahara Motor Inn Inc., 127 Ariz. 213, 215, 619 P.2d 485, 487 (Ct. App. 1980).
     The purpose of a trustee’s sale is to provide “relatively inexpensive and speedy
26   foreclosure proceedings.” Andreola v. Ariz. Bank, 26 Ariz. App. 556, 559, 550 P.2d 110,
     113 (1976); see also LeDesma v. Pioneer Nat’l Title Ins. Co., 129 Ariz. 171, 173-74, 629
27   P.2d 1007, 1009–10 (Ct. App. 1981). A requirement that the trustee must prove
     “standing” to foreclose would effectively nullify the difference between judicial and non-
28   judicial foreclosures and violate the Legislature’s purpose of the non-judicial option.

                                                 -14-                      No. 3:16-cv-08277-DLR
      Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 16 of 21



 1   securing a debt barred by limitations will not be removed as a cloud on title without the
 2   debt first being paid)).
 3           Finally, even if Caliber wanted to enforce payments under the Loan, the statute of
 4   limitations would not bar recovery under the contract. Payments on the Note are not in
 5   default until due. See, e.g., Ortiz v. Trinity Fin. Servs. LLC, 98 F. Supp. 3d 1037, 1043
 6   (D. Ariz. 2015) (statute of limitations applies to each installment separately and does not
 7   begin to run on any installment until it is due). Pursuant to the Note, the Maturity Date on
 8   this Loan will not occur until at least June 1, 2036. 31
 9                  3.     Plaintiff’s claims of a condition precedent fail to state a claim.
10           Plaintiff alleges the DOT contained a condition precedent requiring notice of
11   acceleration prior to initiation of a trustee’s sale. [Doc. 13 at 15] Plaintiff implies that he
12   has not seen a notice of acceleration before the trustee’s sale notice was recorded. [Id. at
13   15-16] Even if acceleration is required before a trustee’s sale is held and Caliber has not
14   yet accelerated the loan, this alleged failure does not state a claim for relief because the
15   trustee’s sale has not yet occurred and notice of acceleration may still be issued. Yet, the
16   acceleration clause does not require acceleration before sale, but requires thirty days’
17   notice of default and notice of intent to accelerate before the acceleration is to occur. 32
18            Moreover, a rider in the loan document unequivocally supports the reading that
19   loan acceleration is not required before filing a notice of trustee’s sale. Specifically, in the
20   1-4 family rider, signed by Plaintiff in 2006, states: “Borrower’s default or breach under
21   any note or agreement in which Lender has an interest shall be a breach under the Security
22   Instrument and Lender may invoke any of the remedies permitted by the Security
23   Instrument.” 33 Finally, under the Note ¶ 10, Plaintiff explicitly waived any right of
24

25

26
     31
          Ex. 2 (Note ¶ 3) to the Request for Judicial Notice.
27   32
          Ex. 1 (DOT ¶ 22) to the Request for Judicial Notice.
28   33
          Ex. 2 (Loan Documents, 1-4 Family Rider at ¶ I) to the Request for Judicial Notice.

                                                   -15-                       No. 3:16-cv-08277-DLR
      Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 17 of 21



 1   Presentment, which waived any requirement that the Note Holder to demand payment of
 2   amounts due. 34
 3                  4.     The historical “Substitutions of Trustees” not appointed by the
                           original lender fail to state a claim for relief.
 4
            Plaintiff appears to assert that the loan documents were breached and are
 5
     unenforceable because a substitution of trustee was not appointed by “Lender.” [Doc. 13
 6
     at 16, 22] This assertion controverts the law and common sense. The DOT (at ¶ 24)
 7
     states that “Lender may, for any reason or cause, from time to time remove Trustee and
 8
     appoint a successor trustee to any Trustee appointed hereunder. Without conveyance of
 9
     the Property, the successor trustee shall succeed to all the title, power and duties conferred
10
     upon Trustee herein and by Applicable Law.” 35 With each assignment of the DOT, the
11
     new Noteholder steps into the shoes of the original lender. 36 When the Noteholder steps
12
     into the shoes of the original lender, it has the rights and responsibilities of the original
13
     lender under the loan documents. Nothing in the DOT states that only the original lender
14
     may substitute a trustee, and this assertion fails to state any claim for relief. 37
15
                    5.     Plaintiff’s argument that Ocwen “knowingly transferred the
16                         undocumented and unverified alleged debt” to Caliber fails to
                           state a claim.
17
            Without citing any authority, Plaintiff asserts that the prior noteholder (Owcen
18
     Loan Servicing) transferred the debt to Caliber on May 17, 2016, and concludes that: the
19
     debt was “undocumented and unverified,” this was a “breach of fiduciary,” and Caliber
20
     cannot enforce the loan documents because it is not the “holder in due course” and thus
21
     not the true owner of the debt. [Doc. 13 at 6, 17] This fails to state any claim that
22

23   34
        Ex. 2 (Note ¶ 10) to the Request for Judicial Notice.
24   35
        Ex. 1 (DOT ¶ 24) to the Request for Judicial Notice.
     36
25      See, e.g., Exs. 3-7 to the Request for Judicial Notice (granting, assigning, and
     transferring all beneficial interests under the deed of trust dated 5/25/2006 and recorded as
26   instrument No. 3386186 on 5/31/2006).
     37
        It is ironic Plaintiff is asserting that Caliber is liable as a successor noteholder for some
27   supposed (unidentified) TILA violations in the original lender’s 2006 loan documents, but
     that Caliber cannot be a successor noteholder for the administrative purpose of
28   substituting a trustee.

                                                    -16-                        No. 3:16-cv-08277-DLR
      Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 18 of 21



 1   warrants relief. Neither Arizona’s UCC nor Arizona’s judicial foreclosure statutes require
 2   presentation of the original note before commencing foreclosure proceedings.             See
 3   A.R.S. § 47-3301 (“‘persons entitled to enforce’ an instrument [include] the holder of the
 4   instrument, a nonholder in possession of the instrument who has the rights of a holder or a
 5   person not in possession of the instrument who is entitled to enforce the instrument
 6   pursuant to § 47-3309”); id. § 33-807 (foreclosure statutes do not require presentation of
 7   the original note before commencing foreclosure proceedings). Courts have routinely
 8   held that Plaintiff’s “show me the note” argument lacks merit. See Mansour, 618 F. Supp.
 9   2d at 1181 (listing cases). Accordingly, regardless of how Plaintiff pleads this argument,
10   it provides no grounds for relief.
11                 6.     Amendment of the FAC would be futile.
12          Even liberally construing the FAC to find any way in which Plaintiff could
13   possibly state a claim for relief, Plaintiff has failed to state any claims upon which relief
14   may be granted. Nor could Plaintiff amend his claims to allege that Caliber caused him
15   any injury. A court may deny leave to amend when dismissing a case for failure to state a
16   claim if “the court determines that the pleading could not possibly be cured by the
17   allegations of other facts.” Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000). Plaintiff
18   has already taken advantage of leave to amend, with the Court’s order that shed light on
19   some of the problems in Plaintiff’s Complaint.         [E.g., Doc. 7 at 4-5 (“Brosnahan’s
20   allegations are conclusory and do not state a plausible claim to relief under the FDCPA.
21   He does not specify the nature of Defendants’ abusive debt collection practices. . . .”)]
22   Yet, Plaintiff ignored this advice and filed a FAC, which is substantially similar in nature
23   to the Complaint and makes several unsupported, conclusory allegations and a recitation
24   of statutes devoid of explanation of how the statutes apply or the factual allegations to
25   support any legal claims. Amendment at this point would be futile because Plaintiff has
26   failed to state any reasonable facts that could support any claim for relief.
27

28

                                                  -17-                       No. 3:16-cv-08277-DLR
      Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 19 of 21



 1                                               Conclusion
 2          For the foregoing reasons, Defendants respectfully request that the Court dismiss

 3   with prejudice all of Plaintiff’s claims.

 4

 5   Dated: February 9, 2017                          PERKINS COIE LLP

 6
                                                      By: /s/ Kendra L. Haar
 7                                                        Brian C. Lake
                                                          Kendra L. Haar
 8                                                        2901 North Central Avenue, Ste. 2000
                                                          Phoenix, Arizona 85012-2788
 9
                                                      Attorneys for Defendants Caliber Home
10                                                    Loans, LSF9 Master Participation Trust,
                                                      and Summit Service and Realty LLC
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                    -18-                    No. 3:16-cv-08277-DLR
      Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 20 of 21



 1                    NOTICE OF CERTIFICATION OF CONFERRAL
 2         Pursuant to this Court’s order dated November 29, 2016, the parties have conferred
 3   to determine wither an amendment could cure a deficient pleading. In this conferral, the
 4   parties have been unable to agree that the pleading is curable by a permissible
 5   amendment. Accordingly, Defendants have moved forward with filing the above motion
 6   to dismiss pursuant to Federal Rule of Procedure 12(b).
 7
     Dated: February 9, 2017                      PERKINS COIE LLP
 8

 9                                                By: /s/ Kendra L. Haar
                                                      Brian C. Lake
10                                                    Kendra L. Haar
                                                      2901 North Central Avenue, Ste. 2000
11                                                    Phoenix, Arizona 85012-2788
12                                                Attorneys for Defendants Caliber Home
                                                  Loans, LSF9 Master Participation Trust,
13                                                and Summit Service and Realty LLC
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                               -19-                     No. 3:16-cv-08277-DLR
      Case 3:16-cv-08277-DLR Document 14 Filed 02/09/17 Page 21 of 21



 1                              CERTIFICATE OF SERVICE
 2         I hereby certify that on February 9, 2017, I electronically transmitted the attached
 3   documents to the Clerk’s Office using the CM/ECF System for filing.
 4         I also certify that on February 9, 2017, I served a copy of the attached documents
 5   via First Class mail on Plaintiff Pro Se Michael J. Brosnahan, 21 Hummingbird Circle,
 6   Sedona, AZ 86336-7012.
 7                                           s/ Susan Carnall
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                               -20-                      No. 3:16-cv-08277-DLR
